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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


MARK CHRISSOVERGES                                                            CIVIL ACTION

VERSUS                                                                        NO. 20-1489

CITY OF NEW ORLEANS, ET AL                                                    SECTION: “B” (3)


                                    ORDER AND REASONS


      Before the Court are Defendant City of New Orleans’ motion for certificate of

appealability and Plaintiff’s opposition to same. (Rec. Docs. 63 and 64)

      IT IS ORDERED that the motion is DENIED without prejudice as premature.                    In

denying the City’s requested dismissal of claims based on the defense of untimeliness, the

court reserved reconsideration of that issue at a later date. In part, reconsideration is envisioned

in view of the related expansion of discovery that gave the City an opportunity to respond to

plaintiff’s expert on “repressed memory” issues. The decision at issue is not final because the

record is currently incomplete for meaningful appellate review.

    New Orleans, Louisiana, this 8th day of June, 2021




                                     _________________________________________
                                      SENIOR UNITED STATES DISTRICT JUDGE
